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UNITED STATES OF AMER|CA “MB M GOH\D

_ _ _ _ _ amc u.s. wisdom
v 2.04CR20467 02 D w@ GF m ;_;:§ij.;jg
ANDRE HUGHES

Rando|ph W. Aldenl FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on April 26, 2005. Accordinglyl
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titie & Section _NBE.QEF£W Offense Mim_beg§_l
§L¢i_uM
18 U.S.C. § 1791(a)(2) Obtaining and Possessing Contraband 05/16/2004 2

in Prison

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name. residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc:. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/25/1975 July 26, 2005
Deft's U.S. |V|arshal No.: 17081-076

Defendant’s Mai|ing Address:
1936 Whitney
Memphis, TN 38127

     

/ BERN|CE B. DONALD
UN|TED STATES DISTRICT JUDGE
This document entered on the docket she m

with Rule 55 andlor 32(b) FRC¥P 00 July_e'z_-L, 200

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Case No: 2:04CR20467-02 Defendant Name: Andre HUGHES Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 2 Months to run consecutively to the

undischarged term of imprisonment

The defendant is remanded to the custody of the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

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Case No: 2:04CR20467-02 Defendant Name: Andre HUGHES Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall reportto the probation ofhcer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed. or administered;

8. The defendant shaft not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft"icer;

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Case No: 2:04CR20467-02 Defendant Name: Andre HUGHES Page 4 of 4

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to conHrm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer;

The defendant shall obtain and maintain full-time employment;

The defendant shall cooperate with the collection of DNA as directed by the Probation

Officer;

The defendant shall not operate a motor vehicle until obtaining a valid driver’s iicense.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

{

Total Assessment Total Fine Total Restitution
$100.00

 

 

The Special Assessment shall be due immediate|y.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sATE DISTRICT COURT - WTERN DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 55 in
case 2:04-CR-20467 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Memphis7 TN 38103--552

Honorable Bernice Donald
US DISTRICT COURT

